UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     05/22/2023


JOVAN CAMPBELL,

                                            Plaintiff,                 23-CV-02285 (JMF)(SN)

                          -against-                                             ORDER

SNAPDOODLE TOYS, LLC,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

         On April 25, 2023, Plaintiff filed an affidavit of service on Defendant Snapdoodle Toys,

LLC. ECF No. 7. As of today, Defendant has not filed a notice of appearance, responsive

pleading, or any other motion. No later than May 30, 2023, Plaintiff shall file a letter informing

the Court whether Plaintiff has been in contact with Defendant or made any efforts to confirm

receipt of service. The letter should also state whether Plaintiff intends to move for default

judgment.

SO ORDERED.




DATED:           New York, New York
                 May 22, 2023
